                                      Narcotics Investigation of CBD oils



  March 26, 2018



          Early part of December 2017, I received a call from ADA John Zimmerman concerning
 Investigation of synthetics, Gummy Bears and Marijuana Oils being sold In various stores throughout
 Rutherford County. Zimmerman asked me to "Get Detective       !II     more involved, a lot needed to be
 done", Zimmerman said "they wanted to take this case to the February Grand Jury". Zimmerman
 explained we needed to move quickly and have this done before (something said about legislation).
 Zimmerman asked if I thought the Sheriff wanted to take part in a press release involving the Sheriffs
 Office, District Attorney's, T.B.I., M.P.D., and Smyrna. I advised him I would speak with the Sheriff
 concerning this request.



 I received a call later In December orfirst part of January from DA Jones asking that Detectlvelli/Jii take
 a more active approach in this Investigation. I contacted         I I and made this a priority case.




 January 12. 2018, I received call f r o m - , he has with concerns about this case. He stated       IIIII
 went to the T.B.I. lab for a meeting to discuss the case with Zimmerman, persons from T.B.I., Smyrna
 and lab personnel. B       commented t o - , T.B.I. does not feel comfortable testifying about the
 items being legal.



 I requested a meeting w i t h - , detective-In my office. • informed me while at this
 meeting with Zimmerman, ADA Farmer, T.B.I. personnel at the T.B.I. office. Discussion was brought up
 about legality. T.B.I mentioned case specific situations and the legality. Zimmerman made the comment
 "we are going ahead with this case". • said he was not comfortable with this case, no one has
 explained how it was Illegal. I advised b o t h - a n d . not to make any further buys and to
 stop any further investigation until I can get some answers.



 January 22, 2018, I briefed the sheriff and Chief Grissom on this case. I advised the Chief I was not
 comfortable proceeding until I have further Information.



 January 24. 2108, I contacted DA Jones by phone with concerns over t h e - buys, seizing
 property and closing stores and the T.B.I. having concerns. DA Jones became upset about the T.B.I. and
 the testing, they tested positive for Schedule 6.




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 January 30, 2018, I phoned T.B.I.                         concerning THC Gummy Bears, I asked if It was
 illegal and has it caused (2) two deaths in the US as I had been told. I!IIBI
                                                                             said he was not sure if the
 T.B.I. Is willing to put that much man power to it.



 January 30, 2018. Met with Na                              and Capt. Reed to discuss DA meeting on
 the 2 February. Consensus, no one is comfortable moving ahead at this time.



 January 31, 2018, Spoke with Chief Grissom, I still have concerns with Narc case. I told him I'm leaning
 towards putting it off and that he would probably get a call from Zimmerman.



 February 1. 2018? I met with DA Jones at the Thai restaurant on South Church Street, to speak about
 the upcoming- case. While at the dinner I advised him as of our conversation, I do not agree
 with going forward. My concerns were:

     1.   legal or not.
     2.   Where were the store owners buying the oils from?
     3.   locking the doors
     4.   The owners lack of knowledge of it being illegal.
     5.   law suites.
     6.   Public opinion.
     7.   Opioid problem.
     8.   I also spoke about slowing the investigation down, letting the owners know their product may
          be Illegal.
     9.   Putting off until next grand jury.

 DA Jones said this was a schedule 6 and that It was illegal. T.B.I. was on board with this case. I felt good
 after this conversation and we would all meet tomorrow at his office.



                                                 and I met with DA Jones, ADA Zimmerman and ADA
 Farmer at Jones             1  iscussion revolved around my concerns listed above. Zimmerman gave the
 T.C.A. that was being violated. He further said it is being sold without a prescription. We then discussed
 the issues about locking the doors and seizing property. Zimmerman's response was talking about the
 nuisance law. DA Jones brought up my concerns with civil action. Zimmerman said "They will come in on
 their court date, plead guilty, pay the fines and get their businesses open". "We will put off the court
 dates, attorneys will get tired of coming to court and settle".



February 23, 2018. I received a call from DA Jones while at home. He asked if I heard or spoke with the
Sheriff? Jones started the conversation with "Fucking T.B.I. refuses to testify In court over the results".
Jones further stated "T.B.I. said in the meeting they were good with It". I asked DA Jones about civil
action, Jones replied "AG said my office was (ok orfine)". I then asked about the Sheriff's Office and civil




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 action, Jones stated he and the AG discussed it, mentioned the detective's good faith and said the AG
 thought we would be fine. General Jones said he would do a press release on Monday or Tuesday. We
 will return the money, oils and property." I'll throw T.B.I. under the bus, they tucked us".




 Major William E. Sharp



 Rutherford County Sheriff's Office




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